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      In the United States Court of Federal Claims
                                      No. 15-1070

                                 (Filed: May 19, 2016)

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                                    *
MWH GLOBAL, INC.,                   *
                                    *
                    Plaintiff,      *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
                                    *
*************************************

                                 DISCOVERY ORDER

       On May 17, 2016, the Court conducted a telephonic preliminary scheduling
conference to discuss the discovery schedule in the above captioned case. As discussed
with counsel, the Court hereby adopts the following discovery schedule:

      Initial disclosures by both parties due June 17, 2016.

      Interim status conference December 9, 2016 at 10:00 AM during which a second
      status conference will be scheduled for May 2017.

      Fact discovery to be completed by April 17, 2017.

      IT IS SO ORDERED.

                                                       s/ Thomas C. Wheeler
                                                       THOMAS C. WHEELER
                                                       Judge
